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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )   Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )




                          SUPPLEMENTAL MONTHLY REPORT
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       Defendants respectfully supplement their Monthly Report Pursuant to the Court’s

Injunction for August 2021.

       The fifth and sixth items in the Court’s reporting requirement requests “(5) the total

monthly number of ‘applicants for admission’ under Section 1225 paroled into the United States;

and (6) the total monthly number of ‘applicants for admission’ under Section 1225 released into

the United States, paroled or otherwise.” ECF No. 94 at 53. As mentioned in Defendants’ Monthly

Report for August 2021, ECF No. 106, U.S. Customs and Border Protection (CBP) transfers a

certain number of encountered “applicants for admission” to U.S. Immigration and Customs

Enforcement (ICE) each month, but Defendants’ counsel had not been provided information

regarding the ultimate disposition of those CBP transferees as of the reporting deadline. ECF No.

106 at 4 n.4.

       As provided in the attached Exhibit A, the U.S. Department of Homeland Security

subcomponent ICE now reports that for the August 2021 reporting period ICE booked-in 29,384

noncitizens who had been initially apprehended by CBP. Of these, 28,553 were matched with

CBP’s U.S. Border Patrol apprehensions or CBP’s Office of Field Operations encounters along

the southwest border. Ex. A. Of the 28,553 noncitizens booked-in in August 2021 from CBP

encounters along the Southwest Border, 20,986 were ultimately released into the United States,

387 were removed from the United States, and 6,880 remained in ICE detention. Id. Of those

released by ICE, 92 were released on bond, 16,983 were released on an order of recognizance, 378

were released on an order of supervision, and 3,623 were paroled. Id.

       As a result, DHS now reports that, combined with the 12,469 individuals paroled by CBP

(reporting requirement #5), and the 65,766 applicants for admission under Section 1225 released

into the United States paroled or otherwise by CBP (reporting requirement #6) in August 2021,




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the total number of applicants for admission under Section 1225 paroled into the United States in

August 2021 was 16,092, and the total number of applicants for admission released into the United

States, paroled or otherwise, in August 2021 was 86,752.



       Dated: September 23, 2021            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 23, 2021, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the Northern District of Texas

by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will

be accomplished by the CM/ECF system.

                                             /s/ Joseph A. Darrow
                                             JOSEPH A. DARROW
                                             U.S. Department of Justice




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